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December 16, 2009

By Electronic Case Filing

Honorable Lois Bloom

United States Magistrate Judge
Eastern District of New York
United States Courthouse

225 Cadman Plaza East
Brooklyn, New York 11201

Re: Jeter v. New York City Department of Education, et al.,
06 Civ. 3687 (DGT)(LB)
Our No. 2006-007825

Dear Magistrate Judge Bloom:

I am an Assistant Corporation Counsel in the office of Michael A. Cardozo,
Corporation Counsel of the City of New York, attorney for defendants in the above-referenced
action. This letter is submitted in brief response to plaintiff's December 15, 2009, letter seeking
to compel Special Commissioner Richard Condon to appear for his deposition on December 23,
2009 or on Christmas Eve, December 24, 2009, and various other discovery related relief. !

First, we respectfully decline to respond at this time to the ad hominem attacks in
plaintiff's letter to avoid embroiling the Court in resolving such unnecessary disputes among
counsel. Should the Court wish a point by point response defendants will provide such a
response including copies of e-mails between counsel to refute plaintiff’s accusations of any
improper behavior by defendants’ counsel.

Second, defendants continue to oppose the deposition of Commissioner Condon.
There is nothing new that has been added since the Court’s December 4, 2009, order which
directed that Commissioner Condon’s deposition would be taken “only if necessary, after all

 

' Defendants’ counsel is unavailable on either December 23, or December 24, 2009, due to
holiday travel plans. Commissioner Condon will be traveling for the holidays as well.
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other depositions have been completed.” Plaintiff has not cited any new evidence or information
demonstrating that Commissioner Condon’s deposition is necessary. In particular, the e-mail
cited by plaintiff was previously cited by the Court in its December 3, 2009 order. The e-mail is
dated August 24, 2006, and sent nearly one month after plaintiff filed the instant suit. The e-mail
was in response to plaintiff's August 15, 2009, e-mail which was also sent after plaintiff filed
suit, but before defendants received notice of the lawsuit on October 3, 2006.

We further note that there is nothing in that e-mail which demonstrates personal
knowledge of facts relevant to the instant complaint, much less unique and relevant knowledge
of Commissioner Condon’s. Rather, the e-mail indicates that the Commissioner reviewed “your
email” and not the earlier investigation. Indeed, the Commissioner stated that he was not going
to reopen a prior investigation, which ended February 18, 2005, 1% years prior to the e-mail,
despite plaintiff's August 15" e-mail complaining about the prior investigation. A copy of the
SCI final report, dated February 18, 2005, is enclosed and has been provided in discovery.

The e-mail also discusses matters that are not even at issue in this litigation.
Plaintiff had complained that SCI did not substantiate a June 2005 complaint plaintiff filed with
SCI. The e-mail responds by stating, “As Chief Investigator Tom Fennell previously advised
you, the investigation of your June 2005 complaint to this office did not result in substantiated
findings.” Plaintiff has not deposed, nor does he seek the deposition of Mr. Fennell. Thus, there
has been no change and no additional information since the Court issued its order less than two
weeks ago.

The investigation into plaintiff, which plaintiff claims was discriminatory, was
conducted by SCI Investigator Michael Bisogna and the final report was signed by First Deputy
Commissioner Regina A. Loughran. Plaintiff does not seek either Mr. Bisogna nor Ms.
Loughran’s deposition. Indeed, plaintiff asserts in his December 15" letter that because Mr.
Bisogna allegedly testified “about his lack of knowledge” during plaintiff's prior § 3020-a
administrative hearing, plaintiff does not need Mr. Bisogna’s deposition. Defendants note that
because Commissioner Condon did not personally conduct the investigation into plaintiff, he
would have even less knowledge than Mr. Bisogna.

Further, under plaintiff's theory, any litigant could obtain an e-mail response
evincing a lack of knowledge of plaintiff's case and thereby obtain a deposition of a high level
official. This would eviscerate the protections afforded high level officials and would consume
all of the official’s time in depositions where, as here, the official has no direct knowledge of
plaintiff's case.

Again, the lack of any evidentiary support for the notion that the Commissioner
has unique and relevant information leads to the conclusion that this request is made not for the
purpose of obtaining relevant information, but to harass a high level government official. Jones
v. Hirschfeld, 219 F.R.D. 71, 78 (S.D.N.Y. 2003) (subpoena quashed where it appeared party
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sought deposition of former President Bill Clinton for purpose of deposing President Clinton
rather than obtaining relevant information as party did not seek deposition of individuals with
more direct and relevant information but only sought deposition of President Clinton).

On December 14, 2009, counsel for plaintiff and defendants discussed the
deposition of Commissioner Condon. Defendants cited the December 4" order and asked
whether plaintiff had new evidence. Plaintiff's counsel stated that he had such new evidence but
would not share that evidence with defendants’ counsel. This can hardly fulfill the requirement
of good faith consultations mandated by Local Rule 37.3(a).

With respect to plaintiff's motion to compel defendants to produce all of the
complaints Mariste Adolphoe filed with SCI, it is improper for plaintiff to raise this issue anew
as it was resolved during a July 8, 2009, discovery conference. Plaintiff’s time to seek
reconsideration or object to the Court’s July 8, 2009 rulings has long since passed. In any event,
plaintiff does not present any new information that would make this discovery request less
objectionable.

Plaintiff's request for the “letter of reprimand” to Susan Erber, who has already
been deposed, is also improper. The “letter of reprimand,” to the extent it exists, does not even
concern plaintiff. Plaintiff's only basis for believing the letter exists is because the New York
Post reported that Ms. Erber purportedly received a letter to her file. Moreover, plaintiff first
requested the letter from defendants in an e-mail, which is not proper service under Rule
5(b)(2)(E), on Sunday, November 29, 2009. Needless to say, defendants’ time to respond in
accordance with Rule 34 has not yet expired.

With respect to the transcript of plaintiffs deposition, plaintiff was informed that,
in the interests of saving costs for all parties, defendants were amenable to providing plaintiff his
transcript without cost if plaintiff was willing to do the same for the individuals plaintiff
deposed. Plaintiff, however, has not agreed to this proposal. In the event defendants are ordered
to provide plaintiff his deposition transcript, it is respectfully requested that plaintiff also be
ordered to provide defendants with the deposition transcripts of the individuals plaintiff deposed.

For the foregoing reasons, it is respectfully requested that plaintiff's motion to
compel be denied in its entirety.
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Thank you for your consideration of this request.

  
  

  

Respectfull)\\submitted, |

Assistant Corporation Counsel

Enclosure

cc: Bryan Glass
(By ECF)
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THE SPECIAL COMMISSIONER OF INVESTIGATION

For THE New Yorr City ScHoor Districr
80 MAIDEN LANE, 2OTH FLOOR
NEW YORK, NEW YORK 100386

RICHARD J. CONDON TELEPHONE: (212) $10-1400
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February 18, 2005

Hon. Joel I. Klein

Chancellor

New York City Public Schools
Department of Education

52 Chambers Street. Room 314
New York, NY 10007

Re: Ernest Jeter
SCI Case #2004-2263

Dear Chancellor Klein:

and documenting that he saw students on days they were not in school. Additionally.
students were denied the therapy they needed and were entitled to.!

This investigation began in October 2004, after the mother of two boys who were
supposed to be counseled by Jeter complained to Citywide Programs Local Instructional
Superintendent Fran Dreyfus that one of her sons (“Student A”) was not being taken out
of class for his mandated counseling sessions.” Dreyfus then compared Student A‘s
Related Service Attendance Form to his Individual Attendance Form and to Jeter’s
Related Service Provider Schedule and discovered that there were four dates that Jeter
claimed to provide services for Student A when Student A was marked absent.
Additionally, Jeter claimed to Provide service for Student A on a fifth day that was a
Sunday. Dreyfus then notified this Office. ,

 

' Jeter was not reassizned as a result of this investigation,
* Student A's mother told investigators that she complained that neither of her children was being
counseled by Jeter after both children told her they had not received counseling.

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Hon. J. L Klein -2- February 18, 2005

Principal Rachel Henderson told investigators about prior complaints she received
regarding Jeter’s failure to counsel students as required. According to Henderson, Jeter is
responsible for seeing students who are mandated to receive a certain amount of
counseling throughout the school year. Jeter is supposed to remove each student from
class when scheduled and take them to his office for one to one sessions. Henderson
stated that in March 2004, Teacher Ayaenna McHugh complained that Jeter was not
counseling one of her students (“Student B").? Soon after, Teacher Neal Laskowitz
complained that Jeter was not counseling Student A. When Henderson confronted Jeter,
he claimed that the room he used for counseling does not afford him privacy with the
students because the walls are only three-quarters high and do not reach the ceiling. He
added that his conversations with students are heard by people in the adjacent room.
Henderson reported Jeter’s concerns to Superintendent Margo Levy. Asa result, Levy
visited Jeter’s office and determined that the space was appropriate to see students in
confidential counseling sessions, and ordered Jeter to conduct his sessions in his office.*

MeFlugh confirmed for investigators that Jeter did not see Student B on a regular
basis. According to the teacher, Jeter saw Student B only when there was a crisis and
either she or another teacher would call Jeter to come in for an emergency. McHugh
reviewed JSeter’s Related Service Attendance Report for Student B, and asserted that it
was not possible that Student B was counseled on as many dates as was reflected in the
Report.

Laskowitz also told investigators that Jeter did not see the students as he was
supposed to. According to Laskowitz, at the beginning of the 2003-2004 school year,
Student A and Student B were both in his class.° Early in the year, Jeter asked for the
opportunity to come to the classroom and observe the students he was assigned to
counsel. Laskowitz stated he gave Jeter permission and Jeter came about five times to
observe the students. After the five visits, Jeter never returned to the class to visit the
students or to remove them for their counseling sessions.’

A review of the attendance records of Student A and Student B as well as eleven
other students that Jeter was assigned to counsel revealed that there were many occasions
where Jeter claimed to see a student when the child was absent or school was not in
session. A comparison of the students’ Related Service Attendance Forms to their
Individual Attendance Forms revealed that on nineteen occasions. Jeter indicated that he
saw students when they were absent and/or the school was closed.

 

* Student B is Student A‘s win brother,

* Jeter told Levy he had been seeing his students for counseling while walking the hallways and stairwells.
> Student B's Related Service Attendance Report indicated that Jeter saw Student B sixty-two times during
the 2003-2004 school vear,

° Student B was only in Laskowitz’s class for a brief time.

"Jeter claimed in Student A’s Related Service Attendance Report that he saw Student A fifty-eight times
during the 2003-2004 school year,
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Hon. J. &. Klein -3- February 18, 2005

Ernest Jeter not only submitted falsified time records but he deprived students of
the counseling they needed and were entitled to. Based on this it is the recommendation
of this office that Jeter’s employment with the DOE be terminated and this matter be
considered should he ever apply fora position in the future.

We are forwarding a copy of this letter and our report conceming this
investigation to the Office of Legal Services. We are also forwarding our findings to the
State Education Department and the Kings County District Attorney's Office for
whatever action they deem appropriate. Should you require a copy of our report, or have
any inquiries regarding the above, please contact Vicki Multer Diamond, the attorney
assigned to the case. She can be reached at (212) 510-1454. Please notify Ms. Multer
Diamond within thirty days of receipt of this letter of what, if any action has been taken
or is contemplated against Ernest Jeter. Thank you for your attention to this matter.

Sincerely,

RICHARD J. CONDON
Special Commissioner

of Investigation for the

New York City School District

By:

 

RJC:RAL: VMD:gm
c: Michael Best, Esq.
Theresa Europe, Esq.
